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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CABLE NEWS NETWORK, INC. and ABILIO
JAMES ACOSTA,

P laintiffs 5
Vv.

DONALD J. TRUMP, in his official capacity as
President of the United States; JOHN F. KELLY, in
his official capacity as Chief of Staff to the President
of the United States; WILLIAM SHINE, in his
official capacity as Deputy Chief of Staff to the
President of the United States; SARAH HUCKABEE
SANDERS, in her official capacity as Press Secretary
to the President of the United States; the UNITED
STATES SECRET SERVICE; RANDOLPH ALLES,
in his official capacity as Director of the United
States Secret Service; and JOHN DOE, Secret
Service Agent, in his official capacity,

Defendants.

 

 

Case No.

DECLARATION OF JIM ACOSTA IN SUPPORT OF PLAINTIFFS’ MOTION FOR A
TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION

I, Abilio James Acosta, hereby declare under penalty of perjury the following:

1, I am a journalist with more than twenty years of experience. My full name is

Abilio James Acosta, but I go by Jim Acosta. I am currently the Chief White House

Correspondent at Cable Network News, Inc. (“CNN”). I have personal knowledge of the content

of this declaration, and I could and would competently testify to the truth of the matters stated

herein.
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I. Background

2. I have worked as a professional journalist since 1995. From 1995 to 2001, I
worked for several local television networks as a reporter and substitute anchor. From 2001 to
2003, I was a correspondent for CBS Newspath. From 2003 to 2007, I was a CBS News
Correspondent, where I covered events such as Hurricane Katrina and the Iraq War.

3. I have worked at CNN since 2007, During my time at CNN, I have covered many
major national and international news stories, including U.S. presidential campaigns and
administrations. In 2012, I became one of CNN's national political correspondents.

4. In the fall of 2013, during the administration of President Obama, I became a
member of the White House press corps as CNN’s senior White House correspondent. The
White House press corps consists of journalists from multiple print, radio, and broadcast news
outlets, including CNN, The New York Times, The Washington Post, NPR, ABC, CBS, NBC,
Fox News, and others. The White House press corps regularly reports on the President from the
White House and travels with the President on official business throughout the world. I covered
the Obama Administration for CNN from 2013 through 2017, including President Obama’s
historic March 2016 visit to Cuba—from where my father immigrated—where I questioned
Cuban President Raul Castro on his human rights record.

5. Since 2014, I have also been a proud member of the White House
Correspondents’ Association, a professional organization for journalists covering the White
House.

II. My White House Press Credential
6. In late 2013, in my role as CNN’s senior White House correspondent, I applied

for and was granted a White House press credential commonly known as a “hard pass.” In order
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to obtain this credential, I submitted an application to the Secret Service and underwent a
background check.

7. With this press credential, which I proudly held from 2013 until November 7,
2018, when it was revoked, I covered the affairs of the White House under two presidential
administrations and numerous press secretaries. This work has included multiple domestic and
foreign presidential trips, ceremonies, and press briefings. I have always endeavored to conduct
myself as a diligent but respectful reporter who asks probing but fair questions.

8. Until it was revoked on November 7, 2018, I possessed and regularly used that
hard pass as a central part of my job covering the White House. It was essential to my job.
Indeed, the White House is my workplace and where I spend my working days virtually every
day the President is in Washington. It enabled me to enter the White House on a daily basis
without advance notice, to bypass lengthy security lines and screening, and to move freely
among those areas open to the press in the White House complex. As such, my hard pass
enabled me to be present at White House press briefings, which I routinely attended and at which
T regularly asked questions of White House officials. It also provided me with access to, and the
ability to report on, the often-spontaneous newsgathering opportunities that present themselves at
the White House, from informal conversations with administration staff to surprise
announcements by the White House. The hard pass is also necessary for access to Air Force One
and other restricted areas during presidential trips, which I frequently cover as part of my job.
When traveling with the President, the hard pass is a credential that all Secret Service officers
recognize, and allows journalists access to the presidential “bubble” that is necessary for
thorough newsgathering. I am not aware of any regular member of the White House press corps

who does not hold this press credential.
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9. During my tenure as a White House correspondent, I have never had any
altercations with any member of any president’s administration or with the Secret Service.
Never during that time, until November 7, 2018, was my press credential ever threatened in any
manner. Moreover, I am not aware of this happening to any other journalist in the White House
press corps.

Ill. My Work Covering the Trump Administration

10. Ihave covered President Donald J. Trump for CNN since his election.

11. Beginning in January 2017, the President and his press secretaries have repeatedly
publicly criticized CNN, and me specifically, due to the content of CNN’s reporting. For
instance, during January 11, 2017 news conference at which I was representing CNN, then-
President-elect Trump told me “your organization is terrible;” “I am not going to give you a
question;” and “you are fake news.” Ex. 3.! On February 24, 2017, former White House Press
Secretary Sean Spicer barred CNN from attending a media event. Ex. 54. On December 12,
2017, prior to attending a public signing by President Trump of the National Defense
Authorization Act, current White House Press Secretary Sarah Sanders told me that if I were to
ask a question on behalf of CNN, she could not promise that I would be allowed to participate in
any similar White House events ever again. On January 23, 2018, he tweeted about me “Crazy
Jim Acosta of Fake News CNN.” Ex. 14. On July 13, 2018, at a press conference in England, in
response to my attempt to ask a question, the President stated “CNN is fake news. I don’t take
questions from CNN,” adding, as he addressed another reporter, “let’s go to a real network.” Ex.

19,

 

| References to “Ex. _” are to the Exhibits to the Declaration of Theodore J. Boutrous, Jr.,
dated November 13, 2018.
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12. News networks and journalists have to be ready to deal with criticism from
political figures; it is part of our proud American tradition of open debate. In my observation,
however, the nature and volume of President Trump’s criticisms of the press generally, and CNN
in particular, have represented a change, and this has affected me personally. In my many years
as a reporter, I never received a death threat. Now I receive death threats regularly, aimed at my
work covering the President. This has frightened both me and my family and required us to take
additional security measures in our daily lives.

IV. The November 7, 2018 Press Conference

13. Inmy role as CNN’s chief White House correspondent, I am responsible for
newsgathering at the White House, including attending and reporting on press briefings by the
President and his staff.

14, On November 7, 2018, like most other working days that I reported from the
White House, I used my hard pass to enter the premises. At 11:30 a.m., I attended a presidential
press conference in the East Room of the White House on behalf of CNN.

15, During the November 7 press conference, I had two questions I wanted to ask the
President, about the migrant caravan and the Russia investigation. I raised my hand and was
called on by the President as had happened many times before. As the C-SPAN video of this
press conference accurately reflects, the President repeatedly interrupted me, and I firmly but
politely persisted in asking my two questions and trying to get responses. The President

apparently did not like my questions, however, as he did not respond to them and ultimately

 

2 The entire press conference (including the specific exchange described here at minutes 27:31
to 30:13) can be viewed here: President Trump on 2018 Election Results, C-SPAN, at 27:31-
30:13, https://www.c-span.org/video/?454223-1/president-trump-calls-2018-midterm-
elections-very-close-complete-victory.
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directed me to stop talking. In other words, it was a typical presidential press conference.
Indeed, the only thing unusual about this press conference was that at one point a White House
intern approached me and attempted to physically remove the microphone from my right hand.
The C-SPAN video accurately depicts what happened. As it shows, I held onto the microphone,
stated “Pardon me, ma’am,” and continued asking the President my questions. As eyewitnesses
have noted, and as the video clearly demonstrates, the White House’s contention that I “plac[ed]
my hands on” the intern is false. In my time as a White House correspondent, I have not seen or
experienced a White House intern trying to physically remove a microphone from a reporter’s
hand. I interpreted the intern’s unprecedented actions as an expression of the President’s
dissatisfaction with the topics of my questions.

V. The Revocation of my White House Press Credential

16. Following the November 7 Press Conference, I went back to work in the CNN
booth in the press area in the White House known as the “lower press room,” where I frequently
do my work. After working the rest of the afternoon and reporting live on-air at 5:00 p.m. and
6:00 p.m. from the White House lawn, I left the White House premises for dinner.

17, At around 7:45 p.m., as I tried to re-enter the White House grounds to report for
the CNN program “Anderson Cooper 360,” I was physically blocked by Secret Service agents
from entering the grounds. One of the agents then asked for me to turn my hard pass over to him
and said he was “just told to do it.” I thanked the Secret Service agent for his service and
surrendered my hard pass to him. I recorded a video of this interaction on my mobile phone. Ex.
34. No one at the White House gave me any advance notice that my hard pass was being

revoked or provided me with an explanation of why it was being revoked. Nor was I provided
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any opportunity to defend myself. Indeed, I have instead watched the White House’s shifting
justifications as any other member of the public.

18. The loss of my hard pass has had an immediate negative impact on my ability to
do my job. Moreover, since the revocation of my hard pass, I have been denied other press
credentials that might have otherwise partially made up for the loss of my hard pass, such as day |
passes to the White House. I was also denied a press credential needed to accompany President
Trump on a trip to a U.S. military cemetery in France. Even after the French Government issued
me a credential following the White House’s refusal to do so, Ex. 53, upon arriving at the
cemetery, I was denied entry by the U.S. Secret Service, rendering it impossible for me to cover
this event adequately.

19, Without a hard pass, it is not feasible for me to continue in my current position as
chief White House correspondent for CNN. I can no longer freely access the grounds of the
White House, which is essential to my job. To access the White House, I must now, unlike every
other member of the White House press corps, ask for approval to enter the White House 24
hours in advance in the form of a “day pass.” The White House may choose to deny to admit
me, or admission may be denied based on minor discrepancies in the application, such as a
missing initial. Even if admitted and granted a day pass, I would need to be escorted by security
around the building. Since many White House news events, briefings, or appearances are
spontaneous, the lack of a hard pass renders me effectively unable to cover these events. The
revocation of my press credential also bars my access to the frequent informal newsgathering
opportunities that occur in the press areas of the White House—such as one-on-one discussions

with White House press staff and informal “gaggle” briefings that are usually unscheduled.
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20. The revocation of my White House press credential not only destroys my ability
to perform my current job, it will follow me for the rest of my career. My reputation and my
future career prospects have all been significantly harmed if not completely devastated. If my
credentials are not restored immediately, I highly doubt that I will ever be able to work as a
White House correspondent for any news outlet for the rest of my career.

21. I have no knowledge of any other journalist’s hard pass ever being suspended or
revoked for any reason at all.

22. I understand that CNN’s efforts to get my press credentials reinstated have been
unsuccessful and that the White House does not intend to reinstate or return my hard pass.

VI. The White House’s Shifting Justifications

23, The White House’s official statement on the revocation of my press credentials,
delivered via the Press Secretary’s Twitter account, indicated that my credentials had been
revoked because I allegedly “plac[ed] [my] hands” on a White House staffer, which conduct was
“inappropriate” and “absolutely unacceptable.” Ex. 42. I understand, and it has been widely
reported, that the video tweeted by the Press Secretary in support of these allegations originated
from the Twitter account of a contributor to the purported news website Infowars and appears to
have been altered to present an inaccurate depiction of the events at the November 7, 2018 press
conference. Ex. 43.

24. Based on these facts, I believe that the White House actually revoked my hard
pass because it dislikes my and CNN’s coverage of the President’s Administration, including but
not limited to the questions I asked at the November 7 press conference. I believe this was done
to send a message to other White House correspondents that asking tough questions and filing

reports critical of the administration will be punished. The President appeared to confirm this
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motive when he warned on November 9, 2018, that he might revoke the press credentials of
other reporters too. Ex. 51.

25, I declare under penalty of that the foregoing is true and correct.

Executed on this 12th day of November 2018 in Washington, D.C.

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